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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                                June 02, 2022
                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk

                            GALVESTON DIVISION

BRIAN MILLER,                              §
                                           §
        Plaintiff,                         §
VS.                                        § CIVIL ACTION NO. 3:18-CV-284
                                           §
CITY OF TEXAS CITY, TEXAS, et al,          §
                                           §
        Defendants.                        §

                                       ORDER

       Before the court is the plaintiff Brian Miller’s request for the court to enter a

scheduling order in this civil action. Dkt. 66. As a reminder, the Fifth Circuit on

April 14, 2021, reversed the court’s judgment in favor of Officer Dricks and

remanded for further proceedings. Dkt. 62. A full year passed before counsel saw

fit to resume prosecution of Mr. Miller’s complaint. This is not the first time that

plaintiff’s counsel has been dilatory in this case. See Dkt. 51 (striking response that

was nearly five months late). Let it be the last.

       The parties are ordered to meet, confer, and jointly file a proposed docket-

control order no later than June 10, 2022.

       Signed on Galveston Island this 2nd day of June, 2022.



                                          _____________________________
                                          JEFFREY VINCENT BROWN
                                          UNITED STATES DISTRICT JUDGE




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